Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 1 of 13
Case Summary Page 1 of 1

2018-CV-000007C : Natalie Adamson vs. Team Industrial Services, Inc., et al.
DISTRICT COURTS - Montgomery-Coffeyville District Court

 

Case Number 2018-CV-000007C Plaintiff Natalie Adamson
Case Type Automobile Tort Defendant Team Industrial Services, Inc. et al
Opened Judge Jeffrey W Gettler - Division GETTLERJ

Status Active
& Show/Hide Participants

File Date Case History
02-06-2018 Petition PLE: Petition
02-06-2018 Summons on Defendant Team Industrial Services, Inc. PLE: Summons
02-12-2018 Return of Service of Summons on Defendant Team Industrial Service, Inc. RET: Return of Service
02-12-2018 Summons on Defendant Lloyd Lawson PLE: Summons
03-06-2018 Entry of Appearance Michael Judy INF: Entry of Appearance
03-06-2018 Entry of Appearance Amanda Ketchum INF: Entry of Appearance

EXHIBIT

 

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Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 2 of 13

ELECTRONICALLY FILED
2018 Feb 06 AM 11:39
CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT
CASE NUMBER: 2018-CV-000007C

IN THE DISTRICT COURT OF MONTGOMERY COUNTY, KANSAS

 

NATALIE ADAMSON, )
Plaintiff,
Vv. Case No.
LLOYD LAWSON and
TEAM INDUSTRIAL SERVICES, INC.)
Defendants,
PETITION

(Pursuant to K.S.A. Chapter 60)

COMES NOW, Plaintiff, Natalie Adamson, by and through her attorneys of record, The
Spigarelli Law Firm, and for her claim against Defendants Lloyd Lawson and Team Industrial
Services, Inc., states as follows:

1. That the Plaintiff, Natalie Adamson, is a resident of Coffeyville, Montgomery
County, Kansas.

2s That Defendant, Lloyd Lawson, is a resident of Frankfort, Kentucky, and may be
served at 35 Ashwood Court, Apt. 3, Frankfort, Kentucky 40601.

3, That Defendant, Team Industrial Services, Inc., (hereinafter referred to as “Team
Inc.”) is a Texas Corporation authorized to do business in the State of Kansas. Service can be
perfected by serving Defendant Team Inc.’s Registered Agent, Corporation Service Company, at
2900 SW Wanamaker Drive, Suite 2014, Topeka, Kansas 66614.

4. Venue and jurisdiction in Montgomery County, Kansas are proper.
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INCIDENT

5: That on or about March 11, 2016, Defendant Lloyd Lawson was operating a
vehicle heading west in the outside lane on US 166/11" Street in Coffeyville, Montgomery
County, Kansas.

6. That at or about the same time and location, Plaintiff Natalie Adamson was
operating a vehicle traveling south on Willow Street.

ts That at or about the same time and location, Defendant Lloyd Lawson ran a red
light causing him to collide with Plaintiff's vehicle, resulting in Plaintiff's serious personal
injuries and property damage to the vehicle.

NEGLIGENCE OF THE DEFENDANTS

8. At the time of the accident, Defendant Lloyd Lawson was working for Defendants
and was operating his vehicle in the course and scope of his employment.

9. Defendant Team Inc. is responsible for the acts of Defendant Lloyd Lawson under
the doctrine of respondeat superior.

10. That without limiting a general allegation of negligence on the part of the
Defendant Lloyd Lawson, Plaintiff alleges that Defendant was negligent in the following
particulars:

a. Failure to maintain his vehicle under proper control;

b. Failure to keep a proper lookout;

c. Failure to give full time and attention to the operation of said vehicle;
d. Failure to operate said vehicle in a careful and prudent manner;

e. Failure to take steps necessary to avoid an accident; and

f. Failure to stop at a red light.

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DAMAGES

11. Asa direct result of said negligence, Plaintiff sustained damages for pain and
suffering, mental anguish, temporary and permanent disability and disfigurement, medical expenses,
loss of income, property damage, and other losses, and will in the future sustain further damages for
additional pain and suffering, mental anguish, temporary and permanent disability and
disfigurement, medical expenses, loss of income, and other losses.

WHEREFORE, Plaintiff prays for judgment in her favor and against Defendants for an
amount in excess of $75,000.00, costs of this action, and for such other and further relief as the
Court deems just and equitable.

Respectfully submitted,

(A Sp |} 4
ANGELA SPIGARELLI #18913
FRED SPIGARELLI #07078
THE SPIGARELLI LAW FIRM
515 North Broadway
Pittsburg, KS 66762

(620) 231-1290/FAX 232-6650

aspig@spigarelli-law.com
ATTORNEYS FOR PLAINTIFF

 

REQUEST AND DEMAND FOR JURY TRIAL
It is the request and demand of the Plaintiff that she be granted a jury trial in the
determination of this matter and controversy.

A Sp ih QOD,

ANGELA SPIGARELLI #18913
FRED SPIGARELLI #07078
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 5 of 13

ELECTRONICALLY FILED
2018 Feb 06 PM 1:37
Natalie Adamson CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT
- CASE NUMBER: 2018-CV-000007C
Team Industrial Services, Inc., et al. et. al.

SUMMONS

To the above-named Defendant/Respondent:

Team Industrial Services, Inc.
Corporation Service Company

2900 SW Wannamaker Drive, Ste. 2014
Topeka, KS 66614

You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:

Angela Spigarelli
515 North Broadway
P.O. Box 1449
Pittsburg, KS 66762

within 30 days after service of summons on you.

 

Dtauy flawed
Clerk of the District Court
Electronically signed on 02/06/2018 01:48:20 PM

Documents to be served with the Summons:
Petition, PLE: Summons Summons on Defendant Team Industrial Services, Inc.
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 6 of 13

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2018 Feb 12 PM 1:04
CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT
CASE NUMBER: 2018-CV-000007C

RETURN OF SERVICE OF SUMMONS

Thereby certify that I served a copy of this summons and a copy of the Petition on Team

Industrial Service, Inc. in the following manner:

 

—_—__{1)

__{2)

—__(3)

X___(4)

 

—___(5)

—___(6)

socom A

 

Personal Service - onthe ___ day of »2 , by delivering
or offering to deliver the documents to the above-named person;
Residence Service - on the __ day of 2 , by leaving

 

the documents at the dwelling or usual place of abode of the above-named person,

with some person of suitable age and discretion who resides there;

Residence Service - on the __ day of »2 , by leaving a

copy of the documents at the dwelling or usual place of abode of the above-named

person and mailing to that person by first-class mail a notice that the copy has

been left at the individual’s dwelling or place of abode;

Return Receipt Delivery - by causing to be delivered on the 9th day of February,

2018, the documents by return receipt delivery to the above-named at the

following address: 2900 SW Wannamaker Drive, Suite 2014, Topeka, KS 66614.

A copy of the return receipt evidencing delivery is attached to this Return of

Service.

Return Receipt Delivery Refused - by mailing on the day of
+2 , the documents by first-class, postage prepaid, to

the above-named person at the following address:

Other Method of Service - __ (Describe other method of service allowed by law).

By personally serving .

onthe _—_ dayof , 2018.

No Service. The above-named person was not served for the following reason(s):

 
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 7 of 13

CERTIFICATION OF
RETURN ON SERVICE OF SUMMONS

Service by
Law Enforcement Officer

| declare under penalty of perjury, as provided in K.S.A. 21-3805, that the
foregoing Return on Service of Summons is true and correct.

Executed on , 2018.

 

(Signature and Title of Officer)

& Complete items 1, 2, and 3. Also complete A. Si re |
item 4 if Restricted Delivery is desired. ent
@ Print your name and address on the reverse ddressee -

so that we can return the card e you. : Received by ( Printed Name, C. Date of Delivery
@ Attach this card to the back of the mailpiece, ;
CuclaOatkins | 2/4 |

or on the front if space permits. KS
D. Is delivery address different from item 1? EI Yes
fa ace Coe IF YES, enter delivery address below: [1 No

Fenn \nductral Senrcea
Corpo rah Service Lonpan fees
14 (0 SW Wanna make Dev ey eae iii [1 Express Mall

C1 Registered [1 Return Receipt for Merchandise _

Suite VW Cl insured Mail £1C.0.D.

 

 

 

 

 

 

 

 

 

 

 

 

Jo Pticn 2 KS bb b | ay 4. Restricted Delivery? (Extra Fee) C1 Yes
2. Article Number
(Transfer from service labo” ao40 obo nooe 42h Ob08

| PS Form 8811, Februar so mesuio-Heturn Receipt "-102595-02-M-1540
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 8 of 13

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2018 Feb 06 PM 1:37
Natalle Adamson CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT
Vs CASE NUMBER: 2018-CV-000007C

Team Industrial Services, Inc., et al. et. al.
SUMMONS

To the above-named Defendant/Respondent:

Team Industrial Services, Inc.
Corporation Service Company

2900 SW Wannamaker Drive, Ste. 2014
Topeka, KS 66614

You are hereby notified that an action has been commenced against you In this court, You are required to file your
answer or motion under K.S.A, 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:

Angela Spigarelli
515 North Broadway
P.O. Box 1449
Pittsburg, KS 66762

within 30 days after service of summons on you.

    

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4 SEAL) }

Clerk of the District Court
Electronically signed on 02/06/2018 01:48:20 PM

Documents fo be served with the Summons:
Petition, PLE: Summons Summons on Defendant Team Industrial Services, Inc.
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 9 of 13

ELECTRONICALLY FILED
2018 Feb 12 PM 3:33
Natalie Adamson CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT

vs CASE NUMBER: 2018-CV-000007C

Team Industrial Services, Inc., et al. et. al.

 

SUMMONS
Chapter 60 - Service by Attorney or Process Server
To the above-named Defendant/Respondent:
Lloyd Lawson
35 Ashwood Court, Apt. 3

Frankfort, KY 40601

You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:

Angela Spigarelli
515 North Broadway
P.O. Box 1449
Pittsburg, KS 66762

within 21 days after service of summons on you.

 

Clerk of the District Court
Electronically signed on 02/12/2018 03:39:58 PM

Documents to be served with the Summons:
Petition, PLE: Summons Summons on Defendant Lloyd Lawson
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 10 of 13

ELECTRONICALLY FILED

2018 Mar 06 PM 1:37

CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT
CASE NUMBER: 2018-CV-000007C

IN THE DISTRICT COURT OF MONTGOMERY COUNTY, KANSAS

 

IN COFFEYVILLE
NATALIE ADAMSON, )
)
Plaintiff, )
)
Vv. ) Case No. 2018-CV-000007C

) Division No.
LLOYD LAWSON; and TEAM )
INDUSTRIAL SERVICES, INC., )
)
Defendants. )
)

ENTRY OF APPEARANCE

 

Michael J. Judy with the law firm of Dysart Taylor Cotter McMonigle & Montemore, P.C.,

and hereby enters his appearance for Defendant Team Industrial Services, Inc.

Respectfully submitted,

DYSART TAYLOR COTTER
McMONIGLE & MONTEMORE, P.C.

By: _/s/ Michael J. Judy

Amanda Pennington Ketchum #20559
Michael J. Judy #22916
4420 Madison Avenue, 2" Floor

Kansas City, Missouri 64111

(816) 931-2700

(816) 931-7377 — FAX
aketchum@dysarttaylor.com

mjudy@dysarttaylor.com
ATTORNEYS FOR DEFENDANT
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 11 of 13

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 6" day of March, 2018, the foregoing
document was filed and served on all counsel of record through the Court's online filing system.

/s/ Michael J. Judy
Attorney
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 12 of 13

ELECTRONICALLY FILED

2018 Mar 06 PM 1:35

CLERK OF THE MONTGOMERY-COFFEYVILLE DISTRICT COURT
CASE NUMBER: 2018-CV-000007C

IN THE DISTRICT COURT OF MONTGOMERY COUNTY, KANSAS

 

IN COFFEYVILLE
NATALIE ADAMSON, )
)
Plaintiff, )
)
v. ) Case No. 2018-CV-000007C

) Division No.
LLOYD LAWSON; and TEAM )
INDUSTRIAL SERVICES, INC., )
)
Defendants. )
)

ENTRY OF APPEARANCE

 

Amanda Pennington Ketchum with the law firm of Dysart Taylor Cotter McMonigle &

Montemore, P.C., and hereby enters her appearance for Defendant Team Industrial Services, Inc.

Respectfully submitted,

DYSART TAYLOR COTTER
McMONIGLE & MONTEMORE, P.C.

By: _/s/ Amanda Pennington Ketchum
Amanda Pennington Ketchum #20559
Michael J. Judy #22916
4420 Madison Avenue, 2" Floor

Kansas City, Missouri 64111

(816) 931-2700

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mjudy@dysarttaylor.com
ATTORNEYS FOR DEFENDANT
Case 6:18-cv-01077-EFM-TJJ Document 1-1 Filed 03/09/18 Page 13 of 13

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 6" day of March, 2018, the foregoing
document was filed and served on all counsel of record through the Court's online filing system.

/s/ Amanda Pennington Ketchum
Attorney
